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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 Walter Smith,                                §
 Plaintiff,                                   §
                                              §       CIVIL ACTION NO. 1:18-cv-00451-MAC
 vs.                                          §
                                              §       Jury Trial Demanded
 Classic Southeast Texas, Inc.,               §
 Defendant.                                   §

                                  NOTICE OF SETTLEMENT

       Notice is hereby given that Plaintiff Walter Smith (“Plaintiff”) and Defendant, Classic

Southeast Texas, Inc., have reached a settlement in this case. Plaintiff respectfully requests that

this Court allow sixty (60) days within which to complete the settlement, during which time

Plaintiff requests the Court to retain jurisdiction over this matter until fully resolved and final

dismissal paperwork may be filed.

       Dated: June 10, 2021

                                                      Respectfully submitted,


                                                      /s/ Russell S. Thompson IV
                                                      Russell S. Thompson IV
                                                      rthompson@thompsonconsumerlaw.com
                                                      Thompson Consumer Law Group, PC
                                                      5235 E. Southern Ave. D106-618
                                                      Mesa, AZ 85206
                                                      Telephone:      (602) 388-8898
                                                      Facsimile:      (866) 317-2674

                                                      Attorneys for Plaintiff
                                                      WALTER SMITH




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                              CERTIFICATE OF SERVICE

       I certify that on June 10, 2021, I filed the foregoing document with the Court using

CM/ECF, which will send notification of such filing to all counsel of record.


                                                    s/Russell S. Thompson IV
                                                    Russell S. Thompson IV




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